       Case 3:23-cr-00149-MEM Document 90 Filed 07/12/24 Page 1 of 2




             IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA             :
                                     :
            v.                       :    CRIMINAL NO. 3:23-CR-149
                                     :
DOMBEK, et. al.,                     :    JUDGE MANNION
                                     :
                   Defendants.       :
                                     :    ELECTRONICALLY FILED


                         ENTRY OF APPEARANCE

      Kindly enter my appearance, in ADDITION to Jason J. Mattioli, Esquire on

behalf of Defendant Alfred Atsus ONLY in the above-captioned matter.

                                    Respectfully submitted,


                                    /s/ Michael J. Ossont
                                    Michael J. Ossont, Esquire
                                    (PA ID 310437)

                                    Attorney for Defendant, Alfred Atsus



The Mattioli Law Firm
425 Biden Street, Suite 300
Scranton, PA 18503
(570) 880-7389

Date: July 12, 2024
       Case 3:23-cr-00149-MEM Document 90 Filed 07/12/24 Page 2 of 2




                        CERTIFICATE OF SERVICE

      I, Michael J. Ossont, hereby certify that a true and correct copy of the

foregoing Entry of Appearance was served upon the following counsel of record via

the Court’s ECF system on this 12th day of July 2024:


                             James Buchanan, Esquire
                             United States Attorney’s Office
                             235 North Washington Avenue
                             Suite 311
                             Scranton, PA 18501

                             Patrick A. Casey, Esquire
                             Myers, Brier & Kelly, LLP
                             425 Biden Street, Suite 200
                             Scranton, PA 18503

                             Matthew L. Clemente, Esquire
                             Matthew L. Clemente, Attorney at Law
                             88 North Franklin Street, 2nd Floor
                             Wilkes Barre, PA 18640

                             Ernest D. Preate Jr., Esquire
                             120 South State Street
                             Clarks Summit, PA 18411


                                     Respectfully submitted,
                                     /s/ Michael J. Ossont
                                     Michael J. Ossont, Esquire
                                     (PA ID 310437)

                                     Attorney for Defendant, Alfred Atsus
